           Case 1:23-cv-04155-JGLC                    Document 37             Filed 06/20/24    Page 1 of 1



   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   -----------------------------------------------------------------------X
   PHILLIP THOMPSON,
                                                                                    Civil Action No. 23-cv-04155

                                         Plaintiff,

            -against-

   SHUTTERSTOCK, INC., HEIDI GARFIELD,
   SARA BIRMINGHAM, ANDRE GRAHAM, and
   LEIA LEFAY,

                                          Defendants.
   -----------------------------------------------------------------------X

                               NOTICE OF WITHDRWAL OF APPEARANCE

            Goddard Law PLLC, counsel for Plaintiff, hereby informs the Court that Rachel Feingold,

   Esq. is no longer associated with the firm, and requests that the Court withdraw the appearance of

   Rachel Feingold as counsel in this matter.

   Dated: New York, New York
          June 13, 2024

                                                                      Respectfully submitted,
Application to withdraw GRANTED.
                                                                      GODDARD LAW PLLC
SO ORDERED.                                                           Attorneys for Plaintiff

                                                                 By: /s/ Megan S. Goddard
JESSICA G. L. CLARKE                                                Megan S. Goddard Esq.
United States District Judge                                        39 Broadway, Suite 1540
                                                                    New York, New York 10006
                                                                    Tel: 646-964-1178
Dated: June 20, 2024
                                                                    Fax: 212-208-2914
       New York, New York                                           Megan@goddardlawnyc.com

   cc: All Counsel of Record (via ECF)




                                                                 1
